                      IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                               WESTERN DIVISION
                                   5:24-CV-481

 SUSAN JANE HOGARTH,                         )
                                             )
                                  Plaintiff, )
                                             )
 v.                                          )
                                             )
 KAREN BRINSON BELL, in her                  )
 official capacity as Executive Director of )
 the North Carolina State Board of           )
 Elections; et al.,                          )
                                             )
                               Defendants. )

             DEFENDANTS MCCALL AND WAKE COUNTY
BOARD OF ELECTIONS’ ANSWER TO PLAINTIFF’S VERIFIED COMPLAINT AND
                VERIFIED SUPPLEMENTAL PLEADING

       NOW COME the defendants Olivia McCall, in her official capacity as Director of the

Wake County Board of Elections (“WCBOE”) (hereinafter “Defendant Director McCall”); Erica

Porter, in her official capacity as Chair of the WCBOE (hereinafter “Defendant Chair Porter”);

Angela Hawkins, in her official capacity as Secretary of the WCBOE (hereinafter “Defendant

Secretary Hawkins”); and Greg Flynn, Gerry Cohen and Keith Weatherly (hereinafter “Defendant

Member Flynn” “Defendant Member Cohen” and “Defendant Member Weatherly”), in their

official capacities as Members of the WCBOE, (hereinafter collectively referred to as “WCBOE

Defendants” or “Defendants”), by and through counsel, and answer the allegations of Plaintiff’s

Verified Complaint [DE 1 & 2] as well as Plaintiff’s First Verified Supplemental Complaint [DE

65] as follows:




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                                        FIRST DEFENSE

       For and as an affirmative defense, pursuant to Rule 12(b)(6) of the Federal Rules of Civil

Procedure, Plaintiff’s complaint fails to state claims against these answering defendants upon

which relief may be granted.

                                      SECOND DEFENSE

       For and as a second defense, these answering defendants deny that they are proper parties

to this action in that the any relief sought could only be obtained from some other party. These

defendants have no authority to promulgate statutory, administrative or regulatory remedies and

act under a state supervised county administered scheme under which these defendants have

limited authority. Moreover, the statutes under scrutiny herein were obviously enacted by the

General Assembly of North Carolina.

                                       THIRD DEFENSE

       For and as a further affirmative defense, the WCBOE Defendants answer the specific

allegations of Plaintiff’s complaint as follows (sub-headings contained in the Complaint are

included as they appear for reference only and are not admitted as true for any purpose).

                   ANSWER TO VERIFIED COMPLAINT [DE 1 & DE 2]

       These WCBOE Defendants answer the specific allegations of the Complaint as follows

[subtitles contained in the Complaint are included as they appear for reference only and are not

admitted as true for any purpose]:

                                        INTRODUCTION

       1.      The allegations contained in paragraph 1 of Plaintiff’s Complaint state conclusory

statements to which no response is required. To the extent that these allegations require a response,

such allegations are denied.



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       2.       The allegations contained in paragraph 2 of Plaintiff’s Complaint state legal

conclusions to which no response is required. To the extent that these allegations require a

response, such allegations are denied.

       3.      The allegations contained in paragraph 3 of Plaintiff’s Complaint are denied as to

the WCBOE Defendants. The remaining allegations in this paragraph state conclusory statements

to which no response is required. To the extent that these allegations require a response, such

allegations are denied.

       4.      The allegations contained in paragraph 4 of Plaintiff’s Complaint reference a letter

authored by the North Carolina State Board of Elections that upon information and belief is the

same letter attached as Exhibit A to the Complaint which is the best evidence of its contents.

Further, the allegations in this paragraph state conclusory statements to which no response is

required. To the extent that these allegations require a response, such allegations are denied.

       5.      The allegations contained in paragraph 5 of Plaintiff’s Complaint state legal

conclusions to which no response is required. To the extent that these allegations require a

response, such allegations are denied.

       6.      The allegations contained in paragraph 6 of Plaintiff’s Complaint state legal

conclusions to which no response is required. To the extent that these allegations require a

response, such allegations are denied.

       7.      The allegations contained in paragraph 7 of Plaintiff’s Complaint state legal

conclusions to which no response is required. To the extent that these allegations require a

response, such allegations are denied.




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          8.     The allegations contained in paragraph 8 of Plaintiff’s Complaint state conclusory

statements to which no response is required. To the extent that these allegations require a

response, such allegations are denied.

                                           THE PARTIES

          9.     The allegation contained in paragraph 9 of Plaintiff’s Complaint with respect to

Plaintiff’s residency is admitted, upon information and belief. Defendants are without sufficient

knowledge to admit or deny Plaintiff’s remaining allegations, and as such, these allegations are

denied.

          10.    The allegations contained in paragraph 10 of Plaintiff’s Complaint are admitted

upon information and belief.

          11.    The allegations contained in paragraph 11 of Plaintiff’s Complaint state legal

conclusions to which no response is required. Defendants are without sufficient knowledge to

admit or deny Plaintiff’s remaining allegations as to the State Board’s knowledge of the reasons

why voters take selfies. To the extent that these allegations require a response, such allegations are

denied.

          12. The allegations contained in paragraph 12 of Plaintiff’s Complaint are admitted as to

the position held by Defendant Karen Brinson Bell. All remaining allegations in this paragraph

state legal conclusions to which no response is required. To the extent that these allegations require

a response, such allegations are denied.

          13.    The allegations contained in paragraph 13 of Plaintiff’s Complaint are admitted as

to the position held by Defendant Hirsch. All remaining allegations in this paragraph state legal

conclusions to which no response is required. To the extent that these allegations require a

response, such allegations are denied.



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       14.     The allegations contained in paragraph 14 of Plaintiff’s Complaint are admitted as

to the membership of the North Carolina State Board of Elections. All remaining allegations in

this paragraph state legal conclusions to which no response is required. To the extent that these

allegations require a response, such allegations are denied.

       15. The allegations contained in paragraph 15 of Plaintiff’s Complaint are admitted upon

information and belief as to the position held by Defendant Brinton. The remaining allegations

contained in paragraph 15 of Plaintiff’s Complaint reference a letter that upon information and

belief is the same letter attached as Exhibit A to the Complaint which is the best evidence of its

contents.

       16.     The allegations contained in paragraph 16 of Plaintiff’s Complaint recite excerpts

without context from N.C. Gen. Stat. §§ 163-33 and 163-35, which are the best evidence of their

contents and contain contentions of law.

       17.     The allegations contained in paragraph 17 of Plaintiff’s Complaint are admitted as

to the position held by Defendant McCall and her appointment as Director of the WCBOE in 2023.

All remaining allegations are denied.

       18.     The allegations contained in paragraph 18 of Plaintiff’s Complaint are admitted as

to the position held by Defendant Porter on the WCBOE. All remaining allegations are denied.

       19.     The allegations contained in paragraph 19 of Plaintiff’s Complaint are admitted as

to the positions held by Defendants Hawkins, Flynn, Cohen and Weatherly on the WCBOE. All

remaining allegations are denied.

       20.     The allegations contained in paragraph 20 of Plaintiff’s Complaint are admitted as

to the position held by Defendant Freeman. All remaining allegations in this paragraph state legal




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conclusions to which no response is required. To the extent that these allegations require a

response, such allegations are denied.

       21. The allegations contained in paragraph 21 of Plaintiff’s Complaint are admitted as to

the position held by Defendant Stein as of the date of the Complaint, but it is denied that Defendant

Stein still holds this position following his January 1, 2025 transfer of office to governorship. All

remaining allegations in this paragraph state legal conclusions to which no response is required.

To the extent that these allegations require a response, such allegations are denied.

       22.     The allegations contained in paragraph 22 of Plaintiff’s Complaint state conclusory

statements to which no response is required. To the extent that these allegations require a response,

such allegations are denied.

       23.     The allegations contained in paragraph 23 of Plaintiff’s Complaint are admitted

upon information and belief.

                                          JURISDICTION

       24.     The allegations contained in paragraph 24 of Plaintiff’s Complaint state legal

conclusions to which no response is required. To the extent that these allegations require a

response, such allegations are denied.

       25.     The allegations contained in paragraph 25 of Plaintiff’s Complaint state legal

conclusions to which no response is required. To the extent that these allegations require a

response, such allegations are denied.

       26.     The allegations contained in paragraph 26 of Plaintiff’s Complaint state conclusory

       statements to which no response is required. To the extent that these allegations require a

response, such allegations are denied.




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       27.     The allegations contained in paragraph 27 of Plaintiff’s Complaint state legal

conclusions to which no response is required. To the extent that these allegations require a

response, such allegations are denied.

                                             VENUE

       28.     The allegations contained in paragraph 28 of Plaintiff’s Complaint state legal

conclusions to which no response is required. Defendants are without sufficient knowledge to

admit or deny Plaintiff’s remaining allegations as to defendants’ residencies. To the extent that

these allegations require a response, such allegations are denied.

       29.     The allegations contained in paragraph 29 of Plaintiff’s Complaint state legal

conclusions to which no response is required. To the extent that these allegations require a

response, such allegations are denied.

                                  FACTUAL ALLEGATIONS

“Five Provisions of North Carolina Law Ban Ballot Selfies.”

       30.     The allegations contained in paragraph 30 of Plaintiff’s Complaint state conclusory

statements to which no response is required. To the extent that these allegations require a response,

such allegations are denied.

       31.     The allegations contained in paragraph 31 of Plaintiff’s Complaint state legal

conclusions to which no response is required. To the extent that these allegations require a

response, such allegations are denied.

       32.     The allegations contained in paragraph 32 of Plaintiff’s Complaint state legal

conclusions to which no response is required. To the extent that these allegations require a

response, such allegations are denied.




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       33.     The allegations contained in paragraph 33 of Plaintiff’s Complaint state legal

conclusions to which no response is required. To the extent that these allegations require a

response, such allegations are denied.

       34.     The allegations contained in paragraph 34 of Plaintiff’s Complaint state legal

conclusions to which no response is required. To the extent that these allegations require a

response, such allegations are denied.

       35.     The allegations contained in paragraph 35 of Plaintiff’s Complaint recite portions

of the N.C. General Statutes which is the best evidence of its content and for which no response is

required.

       36.     The allegations contained in paragraph 36 of Plaintiff’s Complaint state legal

conclusions to which no response is required. To the extent that these allegations require a

response, such allegations are denied.

       37.     The allegations contained in paragraph 37 of Plaintiff’s Complaint recite portions

of the N.C. General Statutes which is the best evidence of its content and for which no response is

required.

       38.     The allegations contained in paragraph 38 of Plaintiff’s Complaint recite portions

of the N.C. General Statutes which is the best evidence of its content and for which no response is

required.

       39.     The allegations contained in paragraph 39 of Plaintiff’s Complaint recite portions

of the N.C. General Statutes which is the best evidence of its content and for which no response is

required.




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       40.     The allegations contained in paragraph 40 of Plaintiff’s Complaint state legal

conclusions to which no response is required. To the extent that these allegations require a

response, such allegations are denied.

       41.     The allegations contained in paragraph 41 of Plaintiff’s Complaint recite portions

of the N.C. General Statutes which is the best evidence of its content and for which no response is

required.

       42.     The allegations contained in paragraph 42 of Plaintiff’s Complaint state legal

conclusions to which no response is required. To the extent that these allegations require a

response, such allegations are denied.

       43.     The allegations contained in paragraph 43 of Plaintiff’s Complaint state legal

conclusions to which no response is required. To the extent that these allegations require a

response, such allegations are denied.

       44.     The allegations contained in paragraph 44 of Plaintiff’s Complaint state legal

conclusions to which no response is required. To the extent that these allegations require a

response, such allegations are denied.

       45.     The allegations contained in paragraph 45 of Plaintiff’s Complaint state legal

conclusions to which no response is required. To the extent that these allegations require a

response, such allegations are denied.

       46.     The allegations contained in paragraph 46 of Plaintiff’s Complaint state legal

conclusions to which no response is required. To the extent that these allegations require a

response, such allegations are denied.




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       47.     The allegations contained in paragraph 47 of Plaintiff’s Complaint state legal

conclusions to which no response is required. To the extent that these allegations require a

response, such allegations are denied.

       48.     The allegations contained in paragraph 48 of Plaintiff’s Complaint state legal

conclusions to which no response is required. To the extent that these allegations require a

response, such allegations are denied.

“Hogarth Takes a Ballot Selfie and Shares It on Social Media.”

       49.     The allegations contained in paragraph 49 of Plaintiff’s Complaint state conclusory

statements to which no response is required. To the extent that these allegations require a response,

such allegations are denied.

       50.     Defendants are without sufficient knowledge to admit or deny the allegations

contained in paragraph 50 of Plaintiff’s Complaint. To the extent that these allegations require a

response, such allegations are denied.

       51.     The allegations contained in paragraph 51 of Plaintiff’s Complaint, including its

subparts, state conclusory statements to which no response is required. To the extent that these

allegations require a response, such allegations are denied.

       52.     The allegations contained in paragraph 52 of Plaintiff’s Complaint are admitted

upon information and belief.

       53.     The allegations contained in paragraph 53 of Plaintiff’s Complaint are admitted

upon information and belief.

       54.     Defendants are without sufficient knowledge to admit or deny the allegations

contained in paragraph 54 of Plaintiff’s Complaint. To the extent that these allegations require a

response, such allegations are denied.



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       55.     Defendants are without sufficient knowledge to admit or deny the allegations

contained in paragraph 55 of Plaintiff’s Complaint. To the extent that these allegations require a

response, such allegations are denied.

       56.     The allegations contained in paragraph 56 of Plaintiff’s Complaint state conclusory

statements to which no response is required. To the extent that these allegations require a response,

such allegations are denied.

       57.     The allegations contained in paragraph 57 of Plaintiff’s Complaint state conclusory

statements to which no response is required. To the extent that these allegations require a response,

such allegations are denied.

       58.     The allegations contained in paragraph 58 of Plaintiff’s Complaint are admitted.

       59.     Defendants are without sufficient knowledge to admit or deny the allegations

contained in paragraph 59 of Plaintiff’s Complaint. To the extent that these allegations require a

response, such allegations are denied.

       60.     Defendants are without sufficient knowledge to admit or deny the allegations

contained in paragraph 60 of Plaintiff’s Complaint. To the extent that these allegations require a

response, such allegations are denied.

       61.     Defendants are without sufficient knowledge to admit or deny the allegations

contained in paragraph 61 of Plaintiff’s Complaint. To the extent that these allegations require a

response, such allegations are denied.

       62.     The allegations contained in paragraph 62 of Plaintiff’s Complaint are admitted

upon information and belief.

       63.     The allegations contained in paragraph 63 of Plaintiff’s Complaint are admitted

upon information and belief.



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       64.     The allegations contained in paragraph 64 of Plaintiff’s Complaint are admitted

upon information and belief.

       65.     The allegations contained in paragraph 65 of Plaintiff’s Complaint are admitted

upon information and belief.

       66.     The allegations contained in paragraph 66 of Plaintiff’s Complaint are admitted

upon information and belief.

       67.     The allegations contained in paragraph 67 of Plaintiff’s Complaint are admitted

upon information and belief.

       68.             Defendants are without sufficient knowledge to admit or deny the

allegations contained in paragraph 68 of Plaintiff’s Complaint. To the extent that these allegations

require a response, such allegations are denied.

       69.     Defendants are without sufficient knowledge to admit or deny the allegations

contained in paragraph 69 of Plaintiff’s Complaint. To the extent that these allegations require a

response, such allegations are denied.

       70.     Defendants are without sufficient knowledge to admit or deny the allegations

contained in paragraph 70 of Plaintiff’s Complaint. To the extent that these allegations require a

response, such allegations are denied.

       71.     Defendants are without sufficient knowledge to admit or deny the allegations

contained in paragraph 71 of Plaintiff’s Complaint. To the extent that these allegations require a

response, such allegations are denied.

“The State Board Demands Hogarth Remove Her Ballot Selfie, Threatening Criminal
Prosecution.”

       72.     The allegations contained in paragraph 72 of Plaintiff’s Complaint reference a letter




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authored by the North Carolina State Board of Elections attached as Exhibit A to the Complaint

which is the best evidence of its contents. Defendants are without sufficient knowledge to admit

or deny the allegations contained in this paragraph as to Plaintiff’s receipt of such letter, and as

such, these allegations are denied.

       73.     The allegations contained in paragraph 73 of Plaintiff’s Complaint reference a letter

authored by the North Carolina State Board of Elections attached as Exhibit A to the Complaint

which, if authentic, is the best evidence of its contents.

       74.     The allegations contained in paragraph 74 of Plaintiff’s Complaint reference a letter

authored by the North Carolina State Board of Elections attached as Exhibit A to the Complaint

which, if authentic, is the best evidence of its contents.

       75.     The allegations contained in paragraph 75 of Plaintiff’s Complaint reference

statements made in a letter authored by the North Carolina State Board of Elections attached as

Exhibit A to the Complaint which, if authentic, is the best evidence of its contents.

       76.     The allegations contained in paragraph 76 of Plaintiff’s Complaint reference

statements made in a letter authored by the North Carolina State Board of Elections attached as

Exhibit A to the Complaint which, if authentic, is the best evidence of its contents.

       77.     The allegations contained in paragraph 77of Plaintiff’s Complaint reference

statements made in a letter authored by the North Carolina State Board of Elections attached as

Exhibit A to the Complaint which, if authentic, is the best evidence of its contents.

       78.     The allegations contained in paragraph 78 of Plaintiff’s Complaint reference

statements made in a letter authored by the North Carolina State Board of Elections attached as

Exhibit A to the Complaint which, if authentic, is the best evidence of its contents.




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          79.   The allegations contained in paragraph 79 of Plaintiff’s Complaint reference

statements made in a letter authored by the North Carolina State Board of Elections attached as

Exhibit A to the Complaint which, if authentic, is the best evidence of its contents.

          80.   The allegations contained in paragraph 80 of Plaintiff’s Complaint reference

statements made in a letter authored by the North Carolina State Board of Elections attached as

Exhibit A to the Complaint which, if authentic, is the best evidence of its contents.

          81.   The allegations contained in paragraph 81 of Plaintiff’s Complaint reference

statements made in a letter authored by the North Carolina State Board of Elections attached as

Exhibit A to the Complaint which, if authentic, is the best evidence of its contents.

          82.   The allegations contained in paragraph 82 of Plaintiff’s Complaint state legal

conclusions to which no response is required. To the extent these allegations require a response,

such allegations are denied.

          83.   The allegations contained in paragraph 83 of Plaintiff’s Complaint reference a letter

authored by the North Carolina State Board of Elections attached as Exhibit A to the Complaint

which is the best evidence of its contents.

“The State Bored Warns Voters That Photographing Their Ballots is Illegal, Investigates
Reports of Ballot Selfies, and Refers Ballot Selfies to District Attorneys for Prosecution.”

          84.   Defendants are without sufficient information to admit or deny Plaintiff’s

allegations contained in Paragraph 84 as to the State Board’s knowledge that ballot selfies are

expressive activity. To the extent that these allegations require a response, such allegations are

denied.

          85.   Defendants are without sufficient information to admit or deny Plaintiff’s

allegations contained in Paragraph 85. To the extent that these allegations require a response, such

allegations are denied.

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       86.     Defendants are without sufficient information to admit or deny Plaintiff’s

allegations contained in Paragraph 86. To the extent that these allegations require a response, such

allegations are denied.

       87.     Defendants are without sufficient information to admit or deny Plaintiff’s

allegations contained in Paragraph 87. To the extent that these allegations require a response, such

allegations are denied.

       88.     Defendants are without sufficient information to admit or deny Plaintiff’s

allegations contained in Paragraph 88. To the extent that these allegations require a response, such

allegations are denied.

       89.     Defendants are without sufficient information to admit or deny Plaintiff’s

allegations contained in Paragraph 89. To the extent that these allegations require a response, such

allegations are denied.

       90.     Defendants are without sufficient information to admit or deny Plaintiff’s

allegations contained in Paragraph 90. To the extent that these allegations require a response, such

allegations are denied.

       91.     Defendants are without sufficient information to admit or deny Plaintiff’s

allegations contained in Paragraph 91. To the extent that these allegations require a response, such

allegations are denied.

       92.     Defendants are without sufficient information to admit or deny Plaintiff’s

allegations contained in Paragraph 92. To the extent that these allegations require a response, such

allegations are denied.




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       93.     Defendants are without sufficient information to admit or deny Plaintiff’s

allegations contained in Paragraph 93. To the extent that these allegations require a response, such

allegations are denied.

       94.     Defendants are without sufficient information to admit or deny Plaintiff’s

allegations contained in Paragraph 94. To the extent that these allegations require a response, such

allegations are denied.

       95.     Defendants are without sufficient information to admit or deny Plaintiff’s

allegations contained in Paragraph 95. To the extent that these allegations require a response, such

allegations are denied.

       96.     Defendants are without sufficient information to admit or deny Plaintiff’s

allegations contained in Paragraph 96. To the extent that these allegations require a response, such

allegations are denied.

       97.     Defendants are without sufficient information to admit or deny Plaintiff’s

allegations contained in Paragraph 97. To the extent that these allegations require a response, such

allegations are denied.

“The County Board Warns Voters That Ballot Selfies Are Illegal and Reports Election Law
Violations to the State Board.”

       98.     The allegations contained in paragraph 98 of Plaintiff’s Complaint are denied as

the County does not provide a warning on its website related to ballot photography; the County’s

website merely references and recites applicable NC general statutes and administrative code.

       99.     The allegations contained in paragraph 99 of Plaintiff’s Complaint are denied as

the County does not provide a warning on its website stating it is illegal to photograph a voter in

the voting enclosure without permission from an elected official; the County’s website merely

references and recites applicable NC general statutes and administrative code.

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       100.    Defendants are without sufficient information to admit or deny Plaintiff’s

allegations contained in Paragraph 100 as to what other county board of elections have reported.

To the extent that these allegations require a response, such allegations are denied.

       101.    The allegations contained in paragraph 101 of Plaintiff’s Complaint are admitted.

As to the report of the then director of the County Board, the correct name was Gary Sims.

       102.    The allegations contained in paragraph 102 of Plaintiff’s Complaint are admitted.

       103.    The allegations contained in paragraph 103 of Plaintiff’s Complaint are denied.

       104.    Defendants are without sufficient information to admit or deny Plaintiff’s

allegations contained in paragraph 104. To the extent these allegations require a response, such

allegations are denied.

“Hogarth Will Not Take Down Her Ballot Selfie and Will Continue Taking and Sharing
Ballot Selfies in the Future.”

       105.    Defendants are without sufficient information to admit or deny Plaintiff’s

allegations contained in paragraph 105.

       106.    The allegations contained in paragraph 106 of Plaintiff’s Complaint state

conclusory statements as to Plaintiff’s future intent to which no response is required. To the extent

that these allegations require a response, such allegations are denied.

       107.    The allegations contained in paragraph 107 of Plaintiff’s Complaint state

conclusory statements as to Plaintiff’s future intent to which no response is required. To the extent

that these allegations require a response, such allegations are denied.

       108.    Defendants are without sufficient information to admit or deny Plaintiff’s

allegations contained in Paragraph 108. To the extent that these allegations require a response,

such allegations are denied.




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       109.    Defendants are without sufficient information to admit or deny Plaintiff’s

allegations contained in Paragraph 109. To the extent that these allegations require a response,

such allegations are denied.

       110.    The allegations contained in paragraph 110 of Plaintiff’s Complaint state

conclusory statements as to Plaintiff’s future intent to which no response is required. To the extent

that these allegations require a response, such allegations are denied.

       111.    The allegations contained in paragraph 111 of Plaintiff’s Complaint state

conclusory statements as to Plaintiff’s future intent to which no response is required. To the extent

that these allegations require a response, such allegations are denied.

       112.    The allegations contained in paragraph 112 of Plaintiff’s Complaint state

conclusory statements as to Plaintiff’s future intent to which no response is required. To the extent

that these allegations require a response, such allegations are denied.

       113.    The allegations contained in paragraph 113 of Plaintiff’s Complaint state

conclusory statements as to Plaintiff’s future intent to which no response is required. To the extent

that these allegations require a response, such allegations are denied.

“Hogarth Will Vote for Herself in the November 5, 2024 Election and Plans to Take and
Share a Ballot Selfie That Day.”

       114.    Defendants are without sufficient information to admit or deny allegations in

paragraph 114. To the extent these allegations require a response, such allegations are denied.

       115.    Defendants are without sufficient information to admit or deny allegations in

paragraph 115. To the extent these allegations require a response, such allegations are denied.

       116.    The allegations contained in paragraph 116 of Plaintiff’s Complaint state are

admitted as Hogarth did appear as a Libertarian Party candidate on the November 5, 2024 ballot

in NC Senate District 13.

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       117.    The allegations contained in paragraph 117 of Plaintiff’s Complaint are admitted.

       118.    In response to the allegations contained in paragraph 118 of Plaintiff’s Complaint,

it is denied that Plaintiff intended to vote in person on November 5, 2024.

       119.    The allegations contained in paragraph 119 of Plaintiff’s Complaint state

conclusory statements as to Plaintiff’s intent to which no response is required. To the extent that

these allegations require a response, such allegations are denied.

       120.    The allegations contained in paragraph 120 of Plaintiff’s Complaint state

conclusory statements as to Plaintiff’s intent to which no response is required. To the extent that

these allegations require a response, such allegations are denied.

       121.    The allegations contained in paragraph 121 of Plaintiff’s Complaint state

conclusory statements as to Plaintiff’s intent to which no response is required. To the extent that

these allegations require a response, such allegations are denied.

       122.    The allegations contained in paragraph 122 of Plaintiff’s Complaint state

conclusory statements as to Plaintiff’s intent to which no response is required. To the extent that

these allegations require a response, such allegations are denied.

       123.    The allegations contained in paragraph 123 of Plaintiff’s Complaint state

conclusory statements as to Plaintiff’s intent to which no response is required. To the extent that

these allegations require a response, such allegations are denied.

                                 “INJURIES TO PLAINTIFF”

       124.    The allegations contained in paragraph 124 of Plaintiff’s Complaint state legal

conclusions to which no response is required. To the extent these allegations require a response,

such allegations are denied.




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       125.    The allegations contained in paragraph 125 of Plaintiff’s Complaint state legal

conclusions to which no response is required. To the extent these allegations require a response,

such allegations are denied.

       126.    The allegations contained in paragraph 126 of Plaintiff’s Complaint state legal

conclusions to which no response is required. To the extent these allegations require a response,

such allegations are denied.

       127.    The allegations contained in paragraph 127 of Plaintiff’s Complaint state legal

conclusions to which no response is required. To the extent these allegations require a response,

such allegations are denied.

       128.    The allegations contained in paragraph 128 of Plaintiff’s Complaint are denied.

       129.    The allegations contained in paragraph 129 of Plaintiff’s Complaint are denied.

       130.    The allegations contained in paragraph 130 of Plaintiff’s Complaint are denied.

       131.    The allegations contained in paragraph 131 of Plaintiff’s Complaint state legal

conclusions to which no response is required. To the extent these allegations require a response,

such allegations are denied.

       132.    The allegations contained in paragraph 132 of Plaintiff’s Complaint state

conclusory statements to which no response is required. To the extent these allegations require a

response, such allegations are denied.

       133.    The allegations contained in paragraph 133 of Plaintiff’s Complaint are admitted.

       134.    The allegations contained in paragraph 134 of Plaintiff’s Complaint state

conclusory statements to which no response is required. To the extent these allegations require a

response, such allegations are denied.




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                CLAIMS FOR DECLARATORY AND INJUNCTIVE RELIEF

                                FIRST CAUSE OF ACTION
               The Ballot Photography Provisions Violate the First Amendment
                       (As-Applied Challenge Against All Defendants)

        135.    Defendants incorporate by reference their responses to paragraphs 1-134 above as

if fully set forth herein.

        136.    The allegations contained in paragraph 136 of Plaintiff’s Complaint state legal

conclusions to which no response is required. To the extent these allegations require a response,

such allegations are denied.

        137.    The allegations contained in paragraph 137 of Plaintiff’s Complaint state legal

conclusions to which no response is required. To the extent these allegations require a response,

such allegations are denied.

        138.    The allegations contained in paragraph 138 of Plaintiff’s Complaint state legal

conclusions to which no response is required. To the extent these allegations require a response,

such allegations are denied.

        139.    The allegations contained in paragraph 139 of Plaintiff’s Complaint state legal

conclusions to which no response is required. To the extent these allegations require a response,

such allegations are denied.

        140.    The allegations contained in paragraph 140 of Plaintiff’s Complaint are denied.

        141.    The allegations contained in paragraph 141 of Plaintiff’s Complaint state legal

conclusions to which no response is required. To the extent these allegations require a response,

such allegations are denied.

        142.    The allegations contained in paragraph 142 of Plaintiff’s Complaint are admitted

upon information and belief.



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       143.    The allegations contained in paragraph 143 of Plaintiff’s Complaint state legal

conclusions to which no response is required. To the extent these allegations require a response,

such allegations are denied.

       144.    The allegations contained in paragraph 144 of Plaintiff’s Complaint state legal

conclusions to which no response is required. To the extent these allegations require a response,

such allegations are denied.

       145.    The allegations contained in paragraph 145 of Plaintiff’s Complaint state legal

conclusions to which no response is required. To the extent these allegations require a response,

such allegations are denied.

       146.    The allegations contained in paragraph 146 of Plaintiff’s Complaint state legal

conclusions to which no response is required. To the extent these allegations require a response,

such allegations are denied.

       147.    The allegations contained in paragraph 147 of Plaintiff’s Complaint state legal

conclusions to which no response is required. To the extent these allegations require a response,

such allegations are denied.

       148.    The allegations contained in paragraph 148 of Plaintiff’s Complaint are denied.

       149.    Defendants are without sufficient information to admit or deny allegations in

paragraph 149. To the extent these allegations require a response, such allegations are denied.

       150.    The allegations contained in paragraph 150 of Plaintiff’s Complaint state legal

conclusions to which no response is required. To the extent these allegations require a response,

such allegations are denied.




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       151.    The allegations contained in paragraph 151 of Plaintiff’s Complaint state legal

conclusions to which no response is required. To the extent these allegations require a response,

such allegations are denied.

       152.    The allegations contained in paragraph 152 of Plaintiff’s Complaint state legal

conclusions to which no response is required. To the extent these allegations require a response,

such allegations are denied.

       153.    The allegations contained in paragraph 153 of Plaintiff’s Complaint state

conclusory statements to which no response is required. To the extent these allegations require a

response, such allegations are denied.

       154.    The allegations contained in paragraph 154 of Plaintiff’s Complaint state

conclusory statements to which no response is required. To the extent these allegations require a

response, such allegations are denied.

       155.    The allegations contained in paragraph 155 of Plaintiff’s Complaint state legal

conclusions to which no response is required. To the extent these allegations require a response,

such allegations are denied.

       156.    The allegations contained in paragraph 156 of Plaintiff’s Complaint state

conclusory statements to which no response is required. To the extent these allegations require a

response, such allegations are denied.

       157.    The allegations contained in paragraph 157 of Plaintiff’s Complaint state

conclusory statements to which no response is required. To the extent these allegations require a

response, such allegations are denied.




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       158.    The allegations contained in paragraph 158 of Plaintiff’s Complaint state

conclusory statements to which no response is required. To the extent these allegations require a

response, such allegations are denied.

       159.    The allegations contained in paragraph 159 of Plaintiff’s Complaint state legal

conclusions to which no response is required. To the extent these allegations require a response,

such allegations are denied.

       160.    The allegations contained in paragraph 160 of Plaintiff’s Complaint state legal

conclusions to which no response is required. To the extent these allegations require a response,

such allegations are denied.

       161.    The allegations contained in paragraph 161 of Plaintiff’s Complaint state

conclusory statements to which no response is required. To the extent these allegations require a

response, such allegations are denied.

       162.    The allegations contained in paragraph 162 of Plaintiff’s Complaint state

conclusory statements to which no response is required. To the extent these allegations require a

response, such allegations are denied.

       163.    The allegations contained in paragraph 163 of Plaintiff’s Complaint state legal

conclusions to which no response is required. To the extent these allegations require a response,

such allegations are denied.

       164.    The allegations contained in paragraph 164 of Plaintiff’s Complaint state legal

conclusions to which no response is required. To the extent these allegations require a response,

such allegations are denied.




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       165.    The allegations contained in paragraph 165 of Plaintiff’s Complaint state legal

conclusions to which no response is required. To the extent these allegations require a response,

such allegations are denied.

       166.    The allegations contained in paragraph 166 of Plaintiff’s Complaint state legal

conclusions to which no response is required. To the extent these allegations require a response,

such allegations are denied.

       167.    The allegations contained in paragraph 167 of Plaintiff’s Complaint state legal

conclusions to which no response is required. To the extent these allegations require a response,

such allegations are denied.

       168.    The allegations contained in paragraph 168 of Plaintiff’s Complaint state legal

conclusions to which no response is required. To the extent these allegations require a response,

such allegations are denied.

       169.    The allegations contained in paragraph 169 of Plaintiff’s Complaint state legal

conclusions to which no response is required. To the extent these allegations require a response,

such allegations are denied.

                             SECOND CAUSE OF ACTION
               The Voting Enclosure Provision Violates the First Amendment
                     (As-Applied Challenge Against All Defendants)

       170.    Defendants incorporate by reference paragraphs 1-169 as if fully set forth herein.

       171.    The allegations contained in paragraph 171 of Plaintiff’s Complaint state legal

conclusions to which no response is required. To the extent these allegations require a response,

such allegations are denied.

       172.    The allegations contained in paragraph 172 of Plaintiff’s Complaint are admitted.




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       173.    The allegations contained in paragraph 173 of Plaintiff’s Complaint state legal

conclusions to which no response is required. To the extent these allegations require a response,

such allegations are denied.

       174.    The allegations contained in paragraph 174 of Plaintiff’s Complaint state legal

conclusions to which no response is required. To the extent these allegations require a response,

such allegations are denied.

       175.    The allegations contained in paragraph 175 of Plaintiff’s Complaint state legal

conclusions to which no response is required. To the extent these allegations require a response,

such allegations are denied.

       176.    The allegations contained in paragraph 176 of Plaintiff’s Complaint state legal

conclusions to which no response is required. To the extent these allegations require a response,

such allegations are denied.

       177.    The allegations contained in paragraph 177 of Plaintiff’s Complaint state legal

conclusions to which no response is required. To the extent these allegations require a response,

such allegations are denied.

       178.    The allegations contained in paragraph 178 of Plaintiff’s Complaint state legal

conclusions to which no response is required. To the extent these allegations require a response,

such allegations are denied.

       179.    The allegations contained in paragraph 179 of Plaintiff’s Complaint state

conclusory statements to which no response is required. To the extent these allegations require a

response, such allegations are denied.




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       180.    The allegations contained in paragraph 180 of Plaintiff’s Complaint state

conclusory statements as to Plaintiff’s future plans to which no response is required. To the extent

these allegations require a response, such allegations are denied.

       181.    The allegations contained in paragraph 181 of Plaintiff’s Complaint state legal

conclusions to which no response is required. To the extent these allegations require a response,

such allegations are denied.

       182.    The allegations contained in paragraph 182 of Plaintiff’s Complaint state

conclusory statements to which no response is required. To the extent these allegations require a

response, such allegations are denied.

       183.    The allegations contained in paragraph 183 of Plaintiff’s Complaint state legal

conclusions to which no response is required. To the extent these allegations require a response,

such allegations are denied.

       184.    The allegations contained in paragraph 184 of Plaintiff’s Complaint state legal

conclusions to which no response is required. To the extent these allegations require a response,

such allegations are denied.

       185.    The allegations contained in paragraph 185 of Plaintiff’s Complaint state legal

conclusions to which no response is required. To the extent these allegations require a response,

such allegations are denied.

       186.    The allegations contained in paragraph 186 of Plaintiff’s Complaint state legal

conclusions to which no response is required. To the extent these allegations require a response,

such allegations are denied.




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       187.    The allegations contained in paragraph 187 of Plaintiff’s Complaint state legal

conclusions to which no response is required. To the extent these allegations require a response,

such allegations are denied.

                               THIRD CAUSE OF ACTION
                    The State Board’s March 13, 2024 Demand Letter
                               Violate the First Amendment
           (As-Applied Challenge Against State Board Defendants, Wake County
                 District Attorney, and North Carolina Attorney General)

       188.    Defendants incorporate by reference paragraphs 1-187 as if fully set forth herein.

       189.    The allegations contained in paragraph 189 of Plaintiff’s Complaint state legal

conclusions to which no response is required. To the extent these allegations require a response,

such allegations are denied.

       190.    The allegations contained in paragraph 190 of Plaintiff’s Complaint are admitted.

       191.    The allegation contained in paragraph 191 of Plaintiff’s Complaint with respect to

Plaintiff sharing her ballot on X is admitted, upon information and belief. Defendants are without

sufficient knowledge to admit or deny Plaintiff’s remaining allegations as to her reasons for

sharing her ballot, and as such, these allegations are denied.

       192.    The allegations contained in paragraph 192 of Plaintiff’s Complaint are admitted

upon information and belief.

       193.    The allegations contained in paragraph 193 of Plaintiff’s Complaint are admitted

upon information and belief.

       194.    The allegations contained in paragraph 194 of Plaintiff’s Complaint are admitted

upon information and belief.




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       195.    The allegations contained in paragraph 195 of Plaintiff’s Complaint state legal

conclusions to which no response is required. To the extent these allegations require a response,

such allegations are denied.

       196.    The allegations contained in paragraph 196 of Plaintiff’s Complaint state legal

conclusions to which no response is required. To the extent these allegations require a response,

such allegations are denied.

       197.    The allegations contained in paragraph 197 of Plaintiff’s Complaint state legal

conclusions to which no response is required. To the extent these allegations require a response,

such allegations are denied.

       198.    The allegations contained in paragraph 198 of Plaintiff’s Complaint state

conclusory statements to which no response is required. To the extent these allegations require a

response, such allegations are denied.

       199.    The allegations contained in paragraph 199 of Plaintiff’s Complaint state

conclusory statements to which no response is required. To the extent these allegations require a

response, such allegations are denied.

       200.    The allegations contained in paragraph 200 of Plaintiff’s Complaint state

conclusory statements to which no response is required. To the extent these allegations require a

response, such allegations are denied.

       201.    The allegations contained in paragraph 201 of Plaintiff’s Complaint state legal

conclusions to which no response is required. To the extent these allegations require a response,

such allegations are denied.




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       202.    The allegations contained in paragraph 202 of Plaintiff’s Complaint state legal

conclusions to which no response is required. To the extent these allegations require a response,

such allegations are denied.

       203.    The allegations contained in paragraph 203 of Plaintiff’s Complaint state legal

conclusions to which no response is required. To the extent these allegations require a response,

such allegations are denied.

       204.    The allegations contained in paragraph 204 of Plaintiff’s Complaint state legal

conclusions to which no response is required. To the extent these allegations require a response,

such allegations are denied.

       ANSWER TO FIRST VERIFIED SUPPLEMENTAL COMPLAINT [DE 65]

       These WCBOE Defendants answer the specific allegations of the First Verified

Supplemental Complaint (“Supplemental Complaint”) as follows [subtitles contained in the

Supplemental Complaint are included as they appear for reference only and are not admitted as

true for any purpose]:


                         SUPPLEMENTAL FACTUAL ALLEGATIONS

       1.      The allegations contained in paragraph 1 of Plaintiff’s Supplemental Complaint are

admitted.

       2.      The allegations contained in paragraph 2 of Plaintiff’s Supplemental Complaint are

admitted.

       3.      The allegations contained in paragraph 3 of Plaintiff’s Supplemental Complaint are

admitted.

       4.      The allegations contained in paragraph 4 of Plaintiff’s Supplemental Complaint are

admitted.

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          5.    The allegations contained in paragraph 5 of Plaintiff’s Supplemental Complaint are

admitted.

          6.    The allegations contained in paragraph 6 of Plaintiff’s Supplemental Complaint are

denied.

          7.    Defendants are without sufficient information to admit or deny allegations in

paragraph 7. To the extent these allegations require a response, such allegations are denied.

          8.    The allegations contained in paragraph 8 of Plaintiff’s Supplemental Complaint are

admitted.

          9.    Defendants are without sufficient information to admit or deny allegations in

paragraph 9. To the extent these allegations require a response, such allegations are denied.

          10.   Defendants are without sufficient information to admit or deny allegations in

paragraph 10. To the extent these allegations require a response, such allegations are denied.

          11.   The allegations contained in paragraph 11 of Plaintiff’s Supplemental Complaint,

including all subparts, are admitted, upon information and belief.

          12.   The allegations contained in paragraph 12 of Plaintiff’s Supplemental Complaint

are denied.

          13.   Defendants are without sufficient information to admit or deny allegations in

paragraph 13 of Plaintiff’s Supplemental Complaint. To the extent these allegations require a

response, such allegations are denied.

          14.   Defendants admit that in response to paragraph 14 of Plaintiff’s Supplemental

Complaint, an elections official informed plaintiff that photos were prohibited and that she needed

to delete the photo. All remaining allegations not specifically admitted are denied.




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15. The allegations contained in paragraph 15 of Plaintiff’s Supplemental Complaint are

   admitted as to Plaintiff informing an election official after she took ballot selfies that she

   had a court order allowing her to do so. All remaining allegations not specifically admitted

   are denied.

16. The allegations contained in paragraph 16 of Plaintiff’s Supplemental Complaint are

   admitted as to an election official consulting with the chief judge at the polling location.

   All remaining allegations not specifically admitted are denied.

17. The allegations contained in paragraph 17 of Plaintiff’s Supplemental Complaint are

   admitted as to an election official consulting with the chief judge outside of Plaintiff’s

   presence.

18. The allegations contained in paragraph 18 of Plaintiff’s Supplemental Complaint are

   denied.

19. The allegations contained in paragraph 19 of Plaintiff’s Supplemental Complaint are

   denied.

20. The allegations contained in paragraph 20 of Plaintiff’s Supplemental Complaint state

   conclusory statements to which no response is required. To the extent these allegations

   require a response, such allegations are denied.

21. The allegations contained in paragraph 21 of Plaintiff’s Supplemental Complaint are

   denied.

22. The allegations contained in paragraph 22 of Plaintiff’s Supplemental Complaint are

   denied.

23. The allegations contained in paragraph 23 of Plaintiff’s Supplemental Complaint are

   admitted.



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   24. The allegations contained in paragraph 24 of Plaintiff’s Supplemental Complaint are

       admitted, upon information and belief, that no election official informed Plaintiff that she

       disrupted the polling place. The remaining allegations within this paragraph state legal

       conclusions to which no response is required. To the extent these allegations require a

       response, such allegations are denied.

   25. The allegations contained in paragraph 25 of Plaintiff’s Supplemental Complaint state

       conclusory statements and legal conclusions to which no response is required. To the

       extent these allegations require a response, such allegations are denied.

   26. The allegations contained in paragraph 26 of Plaintiff’s Supplemental Complaint state

       conclusory statements and legal conclusions to which no response is required. To the

       extent these allegations require a response, such allegations are denied.

   27. The allegations contained in paragraph 27 of Plaintiff’s Supplemental Complaint are

       denied.

   28. The allegations contained in paragraph 28 of Plaintiff’s Supplemental Complaint state legal

       conclusions to which no response is required. To the extent these allegations require a

       response, such allegations are denied.

                                      PRAYER FOR RELIEF

       WHEREFORE, Defendants, having fully answered the Complaint and Supplemental

Complaint of the Plaintiff, pray for the following relief:

       1.        That Plaintiff’s prayer for relief be denied in its entirety and Plaintiff have and

recover nothing by way of this Complaint and Supplemental Complaint;

       2.        That the Court dismiss all claims of the Plaintiff;

       3.        That all costs of this action, including court costs and reasonable attorney's fees if



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by law allowed, be taxed to the Plaintiff;

       4.      That any issue of insurance coverage or waiver of immunity be tried by the Court

sitting without a jury as provided by N.C. Gen. Stat. § l53A-435;

       5.      For trial by jury on all other issues so triable; and

       6.      For such other and further relief as the Court deems just and proper.

       This the 10th day of April, 2025.



                                               WAKE COUNTY ATTORNEY'S OFFICE

                                               /s/ Roger A. Askew
                                               Roger A. Askew, NCSB # 18081
                                               Senior Deputy County Attorney
                                               Roger.Askew@wake.gov

                                               /s/ Allison P. Cooper
                                               Allison P. Cooper, NCSB # 34160
                                               Sr. Deputy County Attorney
                                               Allison.Cooper@wake.gov
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                                               Raleigh, North Carolina 27602
                                               Phone: (919) 856-5500
                                               Fax: (919) 856-5504
                                               Attorneys for Defendants




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                                 CERTIFICATE OF SERVICE

       I hereby certify that on April 10, 2025, I electronically filed on behalf of the WCBOE

Defendants the foregoing ANSWER TO PLAINTIFF’S VERIFIED COMPLAINT AND

VERIFIED SUPPLEMENTAL PLEADING with the Clerk of Court using the CM/ECF system,

which will send notification and a copy of such filing to all parties and/or their attorneys who have

appeared in this action as follows:

        Jeffrey Zeman                              James Dedman
        Jeff.zeman@thefire.org                     jdedman@gwblawfirm.com

        Eric Spengler                              Terrence Steed
        eric@sablaw.com                            tsteed@ncdoj.gov

        Elizabeth Curran O’Brien
        eobrien@ncdoj.gov



       This the 10th day of April, 2025.

                                              /s/ Allison P. Cooper
                                              Allison P. Cooper, NCSB # 34160
                                              Senior Deputy County Attorney
                                              Wake County Attorney’s Office
                                              P.O. Box 500
                                              Raleigh, NC 27602
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